      Case 2:15-cr-00190-KJM Document 521 Filed 03/28/19 Page 1 of 5


 1   Law Offices of Robert M. Wilson
     Robert M. Wilson, SBN: 122731
 2   770 L Street, Suite 950
     Sacramento, CA 95814
 3   Telephone: (916) 441-0888
     RWilson@CriminalDefenseAtty.netJ
 4   ATTORNEY FOR DEFENDANT
     JOHN MICHAEL DICHIARA
 5
 6
 7
                              IN THE UNITED STATES DISTRICT COURT
 8
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
      UNITED STATES OF AMERICA,                 )         Case №: 2:15-cr-190 GEB
11                                              )
                     Plaintiff,                 )
12                                              )
             vs.                                )      STIPULATION AND PROPOSED
13                                              )      ORDER TO CONTINUE THE STATUS
           .                                    )      CONFERENCE FROM March 29, 2019
14    JOHN MICHAEL DICHIARA                     )      TO OCTOBER , 2019 AND FINDING
                                                )      OF EXCLUDABLE TIME
15                   Defendant.                 )
16
17
18
                                                    STIPULATION
19
     IT IS HEREBY STIPULATED AND AGREED between the parties and their attorneys, Audrey
20
     Hemesath, Assistant United States Attorney, and Robert M. Wilson, attorney for John DiChiara,
21
22   that the status conference date of Friday, March 29, 2019, should be continued to Friday,

23   November 15, 2019, and time should be excluded under the Speedy Trial Act. The parties
24   further stipulate as follows:
25
            1. On September 28, 2018, this court held a status conference as to defendant DiChiara
26
                and set a trial date of May 14, 2019, and a trial confirmation hearing for April 5,
27
                2019. and a trial date of May 14, 2019. The court further found excludable time
28
                                                      1
           STIPULATION AND PROPOSED ORDER TO CONTINUE STATUS CONFERECE
     Case 2:15-cr-00190-KJM Document 521 Filed 03/28/19 Page 2 of 5


 1          under the Speed Trial Act from September 28, 2019, through May 14, 2019 (ECF
 2
            481). On February 22, 2019, this court held a further status conference concerning
 3
            the medical condition of defendant DiChiara and set a further status conference for
 4
            March 29, 2019. (ECF 511) .
 5
         2. The defense now requests to vacate the March 29, 2019 status conference, April 5,
 6
 7          2019 trial confirmation hearing and the May 14, 2019 trial date, and the government

 8          does not oppose. The reason for the defense request to continue is that Mr.
 9          DiChiara’s health condition would prevent his assistance in his defense and his
10
            attendance at trial.
11
         3. On February 22, 2019, defendant DiChiara executed medical records releases for the
12
            benefit of the government and defense counsel. Since that time, the FBI has
13
14          interviewed health care providers for Mr. DiChiara and has shared a report of those

15          interviews with the defense.
16       4. On March 8, 2019, the FBI interviewed nurse Mandy Stanton form Dr, Chris Shin’s
17
            office, Physical Medicine and Rehabilitation Department, UC Davis Medical Center.
18
            Nurse Stanton indicated the Mr. DiChiara was seen on March 4, 2019, in the
19
            Emergency Department complaining of chest pains with a history of a triple 2017 by-
20
21          pass surgery. Nurse Stranton described Mr. DiChiara’s health as “a mess”.

22       5. On March 20, 2019, the FBI interviewed Dr. Chris Chin, who indicated that Mr.

23          DiChiara likely had multiple strokes and likely has some deficits, including memory,
24
            but that his major issue is cardiovascular and kidney related. Dr. Chin describes his
25
            cardiac condition and kidney (stage 3 chronic kidney disease) status as “bad”.
26
         6. On March 12, 2019, the FBI interviewed Dr. Mossa Haider, Mr. DiChiara’s
27
28          cardiologist. Dr. Haider indicated that Mr. DiChiara needs to have his heart re-
                                                  2
        STIPULATION AND PROPOSED ORDER TO CONTINUE STATUS CONFERECE
     Case 2:15-cr-00190-KJM Document 521 Filed 03/28/19 Page 3 of 5


 1          studied because he is still complaining of chest pain. Because of a recent fall
 2
            reportedly suffered by Mr. DiChiara, further cardiac studies, including an angiogram,
 3
            could not be performed until Mr. DiChiara undergoes a CT scan. Dr. Haider
 4
            indicated that if Mr. DiChiara proceeded to trial on May 15, 2019, the Court would
 5
            have to accommodate Mr. DiChiara’s ongoing medical treatment, including cardiac
 6
 7          rehabilitation schedule. Mr. DiChiara will schedule and undergo this CT scan as soon

 8          as possible.
 9       7. On March 16, 2019, the FBI interviewed Dr. Tony Tsai of Retinal Consultants Group.
10
            Dr. Tsai last saw Mr. DiChiara in November of 2018 and confirmed that Mr. Dichira
11
            is suffering from diabetic retinopathy.
12
         8. Given the current and ongoing medical treatment of Mr. DiChiara, the defense
13
14          requests to vacate all upcoming dates and set this matter for a further status

15          conference in October , 2019. The government does not oppose this request.
16       9. The defendant, John DiChiara, is currently out of custody.
17
         10. The parties stipulate that such continuance on the basis of that the ends of justice
18
            served by taking such action outweigh the best interest of the public and the
19
            defendant in a speedy trial. The parties further stipulate the continuance is necessary,
20
21          as Mr. DiChiara is currently physically incapable of attending and participating in

22          trial, such that time exclusion is again appropriate under Local Code N, 18 U.S.C.

23          3161(h)(4). Furthermore, defense counsel is still reviewing discovery, trial
24
            transcripts, meeting with his client, and investigating information as well as
25
            conducting additional research and as such time exclusion is appropriate under Local
26
            Code T-4.
27
28
                                                   3
        STIPULATION AND PROPOSED ORDER TO CONTINUE STATUS CONFERECE
      Case 2:15-cr-00190-KJM Document 521 Filed 03/28/19 Page 4 of 5


 1          11. Nothing in this stipulation and order shall preclude a finding that other provisions of
 2
                the Speedy Trial Act dictate that additional time periods be excludable from the
 3
                period within which a trial must commence.
 4
 5          IT IS SO STIPULATED that the time between March 29, 2019 and November 15, 2019

 6   should be excluded from the Speedy Trial calculation pursuant to 18 U.S.C.§§ 3161(h)(7)(A),

 7   B(iv) [Local Code T4] and 3161(h)(4) [Local Code N] for defense preparation and due to Mr.

 8   DiChiara’s comorbidities and inability to assist counsel with the preparation for trial or

 9   participation in trial and his necessity to participate in medical rehabilitation. The parties stipulate

10   that the ends of justice served by granting this continuance outweigh the best interests of the public

11   and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A).

12
     IT IS SO STIPULATED.
13
14
15   Dated: March 27, 2019                                   /s/ Robert M. Wilson
                                                            ROBERT WILSON
16                                                          Counsel for Defendant
                                                            JOHN DICHIARA
17
18
     Dated: March 27, 2019                                  MCGREGOR SCOTT
19                                                          United States Attorney

20
                                                            /s/ Audrey Hemersath
21                                                          AUDREY HEMESATH
                                                            Assistant United States Attorneys
22
23
24
25
26
27
28
                                                        4
           STIPULATION AND PROPOSED ORDER TO CONTINUE STATUS CONFERECE
      Case 2:15-cr-00190-KJM Document 521 Filed 03/28/19 Page 5 of 5


 1
                                               IT IS SO ORDERED.
 2
 3          The trial confirmation hearing set for April 5, 2019, and the trial date of May 15, 2019,
 4
     are vacated. The status conference presently set for March 29, 2019, at 9:00 A.M., is hereby
 5
     continued to November 15, 2019 at 9:00 A.M., and time under the Speedy Trial Act will be
 6
     excluded from March 29, 2019 through November 15, 2019 pursuant to 18 U.S.C.§§
 7
 8   3161(h)(7)(A), B(iv) [Local Code T4] and 3161(h)(4) [Local Code N] due to the unavailability

 9   of the defendant and further representations of the parties in their stipulation. The Court finds

10   that the ends of justice served by granting this continuance outweigh the best interests of the
11   public and the defendant in a speedy trial.
12
     Dated: March 28, 2019
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                       5
           STIPULATION AND PROPOSED ORDER TO CONTINUE STATUS CONFERECE
